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Pro Se I (Rev. 12/ 16) Complaint for a Civil Case


                      Defendant No. I
                                 Name
                                 Job or Title (if known)
                                 Street Address                 2025 East Jackson Road                                _____________ _
                                                                ·---·- ---··----· ·-------------·------------- ---·-·
                                 City and County                Carrollton, Dallas County                  _________________
                                                                ·------- -------------------------
                                 State and Zip Code             Texas, 75006
                                 Telephone Number               972-466-3290
                                 E-mail Address (if !mown)


                      Defendant No. 2
                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (ifknown)


                      Defendant No. 3
                                 Name
                                 Job or Title (!{known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (i/f..71ovvn)


                      Defendant No. 4
                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (ifknown)



                                                                                                                            Page 2 of 5
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Pro Se I (Rev. 12/ 16) Complaint for a Civil Case


II.        Basis for Jurisdiction

           Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
           heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
           parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
           is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
           another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
           diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction? (check all that apply)
                  [{]Federal question                                D Diversity of citizenship
           Fill out the paragraphs in this section that apply to this case.

           A.         If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at issue in this case.
                       42   uses § 1983




           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.         The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                             The plaintiff, (name)                                              , is a citizen of the
                                             State of (name)


                                 b.          If the plaintiff is a corporation
                                             The plaintiff, (name)                                              , is incorporated
                                                                     ----------------------
                                             under the laws of the State of (name)
                                             and has its principal place of business in the State of (name)



                                 (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                 same injbrmationfor each additional plaintiff)

                      2.          The Defendant(s)

                                  a.         If the defendant is an individual
                                             The defendant, (name)                                              , is a citizen of
                                             the State of (name)                                              Or is a citizen of
                                                                                - - - - -- -- - - - - - - -
                                             (foreign nation)


                                                                                                                             Page 3 of 5
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                                    EXHIBIT LIST
 A) Bill for Malcolm Loren Hickson from InTown Suites

 B) Letter to Attorney General Ken Paxton requesting of unsealing ofrecords.

 C) Letter to former attorney, Mr. Palmer

 D) Text messages between Raeshonique Luarks and Carole Lydia Lugendo

 E) Autopsy report of Malcolm Loren Hickson

 F) Letter dated April 25, 2018 from the office of Attorney General Ken Paxton to Ms.

    Brown, City of Carrollton regarding release of information.

 G) Letter dated February 16, 2018 to Attorney General Ken Paxton from City of Carrollton.

 H) Letter dated February 22, 2018 to Attorney General Ken Paxton from Mark Kratovil,

    Assistant Criminal District Attorney of Tarrant County, Texas

 I) Letter dated March 12, 2018 from the office of Attorney General Ken Paxton to Mark

    Kratovil, Assistant Criminal District Attorney of Tarrant County, Texas Re: Request for

    any and all records involving a named individual from 10/26/2018
~. ··~"
·~ \:-   -->tlz
'

     1','
     10/24/16 12:12 PM
                         Case 3:18-cv-02747-B-BH Document 3 Filed 10/17/18
                                                          Intown Suites Trinity Mills
                                                          1240 West Trinity Mills Rd.
                                                             Carrollton, TX 75006
                                                                                                      Page 7 of 57 NiteVision
                                                                                                                    PageID201410 R1 SP1 P6




    Town
     SUITES.
                                                                972-323-0904



                                                                 Room Agreement
          Guest Folio# 16667                                                                                        Room:         328
          HICKSON, MALCOLM L                                                                                       Arrival:       10/24/2016
          1015 TERRY WAY                                                                             Next Payment Due Date:       10/31/2016
          CARROLLTON, TX 75006-0000                                                                                  Clerk:       rpeak
          Extra Guest(s): LAURKS, RAESHNIQUE
                          MAULAB, CAROLE


    Trans#           Date          Description                                                     Charges           Payments              Balance
     414538          10/24/2016    Room Deposit                                                      $30.00               $0.00             $30.00
     414539          10/24/2016    Phone Deposit                                                     $20.00               $0.00             $50.00
     414540          10/24/2016    Rm: 328 Website Wkly                                             $279.99               $0.00            $329.99
     414541          10/24/2016    Weekly Technology Fee                                              $5.00              ·$0.00            $334.99
     414542          10/24/2016    State Sales Tax                                                   $16.80               $0.00            $151;79
     414543          10/24/2016    City Sales Tax                                                    $19.60               $0.00            $371.39
     414544          10/24/2016    Cash                                                               $0.00            $371.39               $0.00
                                                                                                                      Balance                $0.00




                  "I hereby reaffirm, acknowledge and agree to the Terms and Conditions of the Guest Agreement on the Guest Registration"




                                                                                                  Folio Summary

                                                                                                         Previous Balance:                 $0.00
                                                                                                           Room Charges:                 $284.99
                                                                                                     Other Charges/Credit:                $30.00
                                                                                                           Phone Charges:                 $20.00
                                                                                                                      Tax:                $36.40
                                                                                                           Less Payments:                $371.39

                                                                                                         Total Amount Due:                     $0.00


           "You agree to the terms and conditions, as stated at move-in, and have verified that the above transactions are correct"



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The Honorable Ken Paxton

 Attorney General

Open Records Division

P.O.B 12548

Austin TX 78711-2548




Dear Attorney General Paxton,                                                 February 28, 2018

I have submitted a request for open records act with Tarrant county Corners office involving a
police officer shooting of my son Malcolm Hickson. In return they provided me with a letter
addressed to the Attorney General. The letter of reference is E-C.M/R.R.R-9171999991 7038
6815 2095 They·have in return notified me that you must rule on what is released. I understand
that the officer was no billed in this case.

The integrity unit at Dallas County shared the same power point presentation with me as they
shared with the grand jury. Upon viewing the information it has left me with numerous
unanswered questions and concerns for the death of my child.

I would like to view the information myself and cannot understand why I the mother would not
have privilege to that information. I plan on continuing with this case. I am not an attorney but
would like to do the leg work and evaluate all information in order to proceed legally. My main
question is, if the officer was not indicted why do they need to hide the information from me,
the mother?

Please Honorable Ken Paxton allow me to have the information I requested. As a citizen and a
veteran that has honored our country to allow our freedoms, I ask myself why I have to fight
again for rights that I thought were protected by being a united state citizen?

This is a case of another black man killed with no video. The video would have summed it all up.
I pray that I am at least able to read the evidence and get closure. I lost my son on October 26,
2016 and still to this day have no answers. I ask you to please have mercy on me.I pray that you
allow the request of public information to be given to me.




Sincerely,

Natalie Hickson
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Mr. Palmer,                                                        7/24/18

Good Afternoon,

First, I would like to once thank you for signing the contract on this wrongful Death. I trust that you are
fully qualified as a counselor and I am confident in your ability to get to the truth, which will lead to
justice. It is your own sense of justice and the need to right a wrong which motivated you to consider
this case in the first place. The trauma of losing my son in such a senseless way has been unbearable.
The only thing that would be worse is not to fight with maximum effort to make those responsible for
his death accountable. Thus, it is not critical that I speak with you immediately in order to completely
and clearly understand your level of commitment to this case.

As you know, the time we have to file this is quickly escaping us, the deadline fastly approaching. It is
clear that this is now a sense of urgency and you understand our need to now aggressively proceed.

As an attorney; I know that the first concern and question is: "can this case be won?" The answer is
"yes". If you did not this so, you would not have had me sign the contract. And the evidence will show
that this was no "justified police shooting". That there was serious negligence, rush to judgement,
errors, miscalculations, prejudice, a botched investigation and then lies to cover it up.

I do not speak out of blind passion and emotion of a mother who has lost her son. But as a clear headed
citizen comparing facts, as a woman speaking simple truth! And I must know that you are ready and
willing to professionally present those facts in court if need be. To hold the Carrollton police department
accountable once and for all.

File this case; if we do not file it how can we win it? Here are a few points to consider and question_s to
ask to proceed:

Why there were so many conflicting reports of what happened immediately after the shooting? If you
read them you will see they all contradict each other and state things to the contrary to the facts.
(Jolene DeVito-police spokesperson must be interviewed.)

Why has the access to any and all deeper information now been suddenly cut off from me when initially
I was allowed to get all my sons personal affects?

Why we.re no other witnesses called for the hearing which would have given the jury greater clarity?

Why was there no real investigation into the claims of what carol Lydia safi lugendo said before swat
was dispatched?( it can be proven she was a known prostitute with Hickson willingly for over a month
and with another pimp prior to that and no kidnapping or assault ever took place).

Swat waiting 6 hrs. Why was there no organized or other profession attempts to apprehend the
suspect? (Utilize the motel manager, call him to office etc.)?

My son has dealt with the police for years! Never has he assaulted a police officer, pointed or pulled a
gun, been disruptive or resisted arrest(for cases much more serious that this one).so the claim that he
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surrendered then reached for a gun are impossible to be believed. In fact all of his previous dealings
with the police without incidence will prove the police lied. Including a video of him and Rae getting
arrested weeks before his death (that I just received 2 weeks ago). It shows him treating the police with
the utmost respect.

Why did they not apprehend my son when he walked right past the swat van as they did Rae?

Why did one officer shoot one shot (without the officers even knowing there was a shot fired?) If he
really reached for a gun, multiple shots would have been fired from more than one officer (was Sgt.
Caleb west the "only" one to see this out of an entire team of trained swat members?

He was shot from the side (not facing any officer) couldn't have been that threatening.
An eyewitness will testify that he never had the gun in his hand or reached for it.

If the shooting is "justified" why is it that after 1 Yz years the police are so secretive and elusive in
providing information?

Why was a flash ban used by police after my son was hot? For what reason? Is this protocol? Is this
logical? (See police affidavit).

The second woman Rae exited the room on her own free will alone. No kidnapping victim. Once the
police realized she was not a victim she then had to be an accomplice. But she never was because the
charge was false.

Why were there conveniently no body cams or swat cameras? What is swat tea I police protocol in a
kidnapping/ hostage situation?

Lastly, my son didn't even know about any kidnapping/assault charges that the girl Carole Lydia safi
Lugendo alleged. His only knowledge was of a family violence charge (if that since the victim was with
him). Why would he pull a gun, reach for a gun surrounded by police officers risking his own death or
death of an officer with the intent to commit a capital crime for such a menial charge. Who risks a life
sentence for doing a simple family violence that may carry 2-10 years? It makes no sense.

There are other points to make, other evidence to present and be discussed. The details will be made
known. That is why it is imperative that this case is files and discovery is obtained. This is where I need
you to do your job. To use your power, access, skill and knowledge to do what I am blocked from doing.
This is far from an open and shut case. In the points presented can you find anything strange? Can you
find some lies? Some errors? Some negligence? If so then you have just discovered and found a victory
and justice for Malcolm. His son (who will never see his father) and for all of those young men who are
far from perfect-yet do not deserve to die at the hands of the police unnecessarily. is this case easy? No.
it is a challenge. But one I know you have the ability, skill and knowledge meet head on and win.

Contact me so we can get started. I thank you for your dedication as well as that of your team in
advance. I look forward to meeting with you soon. I close with your chosen quote "Those who expect
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                                      Office of Chief Medical Examiner
                                 Tarrant County Medical Examiner's District
                                           Tarrant County, Texas
                                    200 Feliks Gwozdz Place, Fort Worth, Texas 76104-4919
                                              (817) 920-5700 FAX 817) 920-5713


                                 AUTOPSY REPORT
     Name: Malcolm Loren Hickson                                        CASE NO: 1616112
     Approximate Age: 25 Years                                          Sex: Male
     Height: 71 Inches                                                  Weight: 162.3 Pounds

     We the undersigned hereby certify that on the 27th day of October 2016,
     beginning at 0955 hours, pursuant to Statute 49.25 of Texas Criminal Code, a
     complete autopsy on the body of an unidentified male later identified as
     Malcolm Loren Hickson was performed at the Tarrant County Medical
     Examiner's District Morgue in Fort Worth, Texas and upon investigation of the
     essential facts concerning the circumstances of the death and history of the case
     are of the opinion that the findings, cause and manner of death are as follows:

     FINDINGS:
        I) Investigative findings:
              A. Police were surveilling the decedent due to outstanding warrants;
                   decedent exited a hotel and pointed a gun at officers; a SWAT
                   officer fired at the decedent; decedent transported to hospital by
                   emergency medical services; decedent pronounced at hospital
              B. Weapon used: Heckler and Koch carbine, Model 316, that fires
                   .223 rounds
              C. Additional medical history: Unknown
       II) Examination findings:
              A. Right lateral chest gunshot wound:
                  1) Wound of Entrance: Right lateral chest
                  2) Range: Indeterminate
                  3) Injury with:
                       a. Fractured right rib, #8
                       b. Liver laceration
                       c. Lung lacerations
                       d. Heart lacerations
                       e. Diaphragm lacerations
                      f. Fractured left rib, #6
                  4) Wound of Exit: None
                  5) Projectile: Recovered from left chest wall
                . 6) Direction: Right to left, back to front, and upward




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                                                                       Malcolm Loren Hickson

                     FINDINGS (Continued):

                               B. Additional findings:
                                  1) Hemopericardium
                                  2) Hemothorax
                     Ill)   Postmortem toxicology:
                               A. Urine, THC, ositive




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                                                           Malcolm Loren Hickson

   jCAUSE OF DEATH:      GUNSHOT WOUND OF CHEST

   !MANNER OF DEATH:     HOMICIDE




                                           Barrie R. Miller, M.D.
                                           Forensic Fellow


                                           Tasha Z. Greenberg, M.D.
                                           Deputy Medical Examiner


                                           Nizam Peerwani, M.D.
                                           Chief Medical Examiner


                                           Marc A. Krouse, M.D.
                                           Deputy Chief Medical Examiner


                                           Susan J. Roe, M.D.
                   Signature               Deputy Medical Examiner


                                           Richard C. Fries, 0.0.
                                           Deputy Medical Examiner


                                           Denika Adams, D.O~
                                           Deputy Medical Examiner
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                                                                    Macolm Loren Hickson

    A complete autopsy is carried out at the Tarrant County Medical Examiner's
    Morgue.


                       GROSS ANATOMIC DESCRIPTION


   I.    CLOTHING AND PERSONAL EFFECTS: The body is presented to the
   Morgue in a blue body bag and clad in a white undershirt (cut), gray boxers (cut),
   gray pajama bottoms (cut), white socks, and black house shoes. The hands are
   bagged.

   II.    THERAPEUTIC INTERVENTION:            Evidence of medical intervention
   includes an oral endotracheal tube; left leg intraosseous access; right chest,
   chest tube.

   Ill.   EXTERNAL BODY DESCRIPTION: The body is that of a normally
   developed adult black male weighing 162.3 pounds, measuring 71 inches in
   height, and appearing compatible with the stated age of 25 years. The body is
   cold following refrigeration. Rigor mortis is well-developed in the small and large
   muscles.     Livor mortis is . indiscernible.      Preservation is good with · no
   decomposition changes. Body hair distribution is that of a normal adult male.

   The head is normocephalic. The head displays injuries as detailed below. The
   head hair is curly, black, and short, % inch. Facial hair consists of a black
   mustache and goatee. The eyes when initially viewed are slightly open. The
   corneae are clear. Tache noire is present. The· irides are brown and there is no
   arcus senilis . The.pupils measure 4 mm bilaterally. The conjunctivae are pink.
   The sclerae are non-icteric. No petechial hemorrh~ges are identified. The nasal
   skeleton and septum are intact. The-ears are unre~arkable; the earlobes are not
   pierced. The lips are atraumatic. The teeth are natural and in good repair.
   There is no foreign material in the external auditory canals, external nares, or
   oral cavity.

   The neck shows no external evidence of injury. The trachea is midline. The
   chest is symmetric with normal male breasts and displays injuries as detailed
   below. The abdomen is flat with no fluid wave or palpable masses. The external
   genitalia are that of a normal circumcised male with descended testes; the
   perineum and anus are unremarkable. The back and buttocks are symmetric
   and unremarkable.
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                                                                     Malcolm Loren Hickson

    The extremities are normally developed and symmetric with no deformities or
    fractures. The arms display injuries as detailed below. The fingernails are intact
    and cyanotic. The toenails are intact.

    IV.    IDENTIFYING MARKS:

    SCARS:
      1) Anterior chest, central, irregular scar, 3/8 x % inch
      2) Left antecubital fossa, irregular scar, X x X inch
      3) Left elbow, curvilinear scar, 3-1/4 inches
      4) Back, lumbar region, cluster of irregular scars, 2-1/2 x 1-3/4 inches
      5) Right anterior knee, cluster of irregular scars, 1-1/2 x 2-1/4 inches
      6) Left anterior knee, cluster of irregular scars, % x 1-1 /2 inches
      7) Left hand, dorsal aspect, numerous irregular scars, up to X inch in
         greatest dimension
     8) Right leg, anterior, distal, linear scar, Yi inch
     9) Right foot, dorsal aspect, irregular scar, 3/8 x Y:z inch
     10) Left foot, dorsal aspect, irregular scar, Xx Y:z inch

   TATTOOS:
     1) Anterior neck, "LAPRESHA"
    2) Anterior chest, bilateral circumferential arms, extensive tattoo of an
        intricate design including words, names, faces, and one hundred dollar
        bills
    3) Left forearm, design including skulls and the words "HEAR NO, SEE NO,
        SPEAK NO EVIL"
    4) Right wrist, dorsal aspect, "MADE"
    5) Left wrist, dorsal aspect, "MAN"

   V.     EVIDENCE OF INJURY:

   FACE:

   There are multiple abrasions on the left lateral face, including two abrasions on
   the left lateral forehead, X x 5/8 inch and 3/16 x 5/8 inch, a 3/8 x 718 inch
   abrasion on the left lateral forehead lateral to left eye, a 1/8 x X inch abrasion on
   the left cheek, a 1/8 x 3/8 inch abrasion on the lower cheek/lateral chin, and a
   % x % inch cluster of abrasions on the left earlobe.




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    EXTREMITIES:

    A% x 3-1/4 inches cluster of abrasions is on the left lateral elbow and forearm. A
    Xi x % inch abrasion is on the dorsal right wrist.

   A 3/16 x X inch contusion is on the left fifth toe. A 1/16 x X inch contusion is on
   the right big toe. A %-inch linear abrasion is on the right medial foot at the base
   of the big toe.

   CHEST:

    On the right lateral chest, located 20.5 inches from the top of the head and
    6.5 inches right of center, and approximately in the mid axillary line, rs a
    1/8 x Xi inch elliptical gunshot wound of entrance with an eccentric marginal
    abrasion up to 3/16 inch in width at the 8:00 to 10 o'clock position. No soot or
    gunpowder stippling are on the skin surrounding the gunshot wound. The bullet
   fractures the right eighth rib, injures the anterior basal segment of the right lower
   lobe of the lung, the .lateral right hemidiaphragm, the liver, the medial right
   hemidiaphragm, the medial basal segment of the right middle lobe of the lung,
   the pericardia! sac and the heart, transecting the right coronary artery, lacerating
   the right atrium, the tricuspid valve, and the right ventricle, continuing through the
   pericardia! sac, fracturing the anterior left rib number six, and coming to rest in
   the muscle of the left anterior chest wall. A deformed, small caliber bullet was
   recovered from the muscle of the left chest wall. The bullet was placed in an
   evidence envelope, sealed, and transferred to the investigating police agency. ·
   The bullet traveled right to left, back to front, and upward. Associated with the
   gunshot wound is hemorrhage throughout the wound track, 200 ml of blood in
   the· pericardium, 300 ml of blood in the left chest, and 900 ml of blood in the
   right chest.

   VI.   INTERNAL EXAMINATION

   BODY CAVITIES:

   A Y-shaped thoracoabdominal incision is made; the organs are examined in situ
   and eviscerated in the usual fashion. The subcutaneous fat of the abdomen
   measures % inch in thickness. The musculature of the abdominal area is
   unremarkable.

   The chest wall displays injuries as detailed above. There are no sternal or
   clavicular fractures. The serous body cavity membranes are smooth and




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                                                                              Malcolm Loren Hickson

           glistening with no adhesions. The vertebral column shows no scoliosis or
           kyphosis. The left hemldiaphragm is in its normal location and appears grossly
           unremarkable. The right hemidiaphragm shows injuries as detailed above. The
           pelvis is intact.

           NECK:

           The neck presents an intact hyoid bone as well as thyroid and cricoid cartilages.
           The larynx is comprised of unremarkable vocal _cords and folds, appearing widely
           patent without foreign material, and is lined by smooth, glistening mucosa. The
           epiglottis shows no edema, trauma or pathologic lesions. There Is no
           hemorrhage of the anterior musculature of the neck. The vasculature of the
           anterior neck is unremarkable. The trachea and cervical spine are in the midline
           presenting no traumatic injuries or pathologic lesions.

           CARDIOVASCULAR SYSTEM:

           The heart is of normal size and weighs 342.5 gms and displays injuries as
           detailed above. There is moderate eplcardial fat. The coronary artery ostia are
           in the normal anatomical location. The coronary arteries are widely patent
           without significant atherosclerotic change. There is right dominaf1t circulation.
           The endocardium is smooth. The myocardium is red-brown without evidence of
           acute or remote infarction. The ventricular walls are of normal thickness; the free
           wall of the left ventricle is 1.4 cm in thickness, the interventricular septum 1.5 cm,
           and the right ventricle 0.4 cm. The aorta is unremarkable.

           RESPIRATORY SYSTEM:

           The tracheobronchial tree contains no edema fluid, aspirated gastric contents or
           other foreign material, and is lined by smooth, glistening mucosa. The right lung
           weighs 266.5 gms and the left 264.0 gms. The pleural surfaces of the lungs are
           smooth and glistening with minimal anthracosis. The right lung shows evidence
           of injury as detailed above. On sectioning, the lungs are deflated. There are no
           cysts, abnormal masses or other atraumatic discrete lesions Identified. The
           pulmonary arterial system is unremarkable without thromboemboli or
           atherosclerosis.

           GASTROINTESTINAL SYSTEM:

           The esophagus is intact and lined by smooth, glistening mucosa without erosions
           or varices. The gastroesophageal junction is normal. The stomach shows




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                                                                                                           /
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    Page 8of10                                                           ~            1616112 .
                                                                       Malcolm Loren Hickson

    normal rugal folds without gastritis or ulcers, and contains 20 ml of thin, tan fluid;
    no food particles, no capsules, or tablets are identified. The small and large
    bowels appear grossly unremarkable.             The appendix is present and is
    unremarkable.

   The pancreas has a lobulated cut surface without hemorrhage, calcification, fat
   necrosis, pseudocysts, or masses.

   HEPATOBILIARY SYSTEM:

   The liver weighs 1124.0 gms and displays injuries as detailed above. The
   capsule is brown, smooth, and glistening.         On sectioning, the hepatic
   parenchyma is red-brown and homogeneous, with no atraumatic lesions. The
   gallbladder is unremarkable containing 20 ml of yellow-green bile and no calculi.
   The mucosa is green and velvety. The extrahepatic biliary system is patent.

   RETICULOENDOTHELIAL (HEMATOPOIETIC) SYSTEM:

   The spleen weighs 95.5 gms with a gray, smooth capsule. On sectioning, the
   parenchyma is reddish-brown and soft. Examination of identified lymph nodes
   reveals ho lymphadenopathy. The examined bone marrow is red and firm
   without lesions. The thymus gland is present, appropriate for age.

   GENITOURINARY SYSTEM:

   The right and left kidneys weigh 132.0 gms and 133.0 gms, respectively. The
   capsules strip with ease and the cortical surfaces are smooth. On sectioning, the
   cortex is of normal thickness, with a well-defined corticomedullary junction and
   unremarkable medullae. The pelves and calyces are of normal size and lined by
   gray, glistening mucosa. There are no calculi. The renal arteries and veins are
   normal. The ureters are of normal caliber in the retroperitoneum, draining into an
   unremarkable urinary bladder.

   The prostate gland and seminal vesicles are unremarkable. The testes are not
   removed.

   ENDOCRINE SYSTEM:

   The thyroid gland is of normal size and shape, with a red-brown cut surface and
   no lesions. The adrenal glands have yellow cortices of normal thickness and the
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                                                                  Maldolm Loren Hickson

   medullae show no lesions or hemorrhage. The pituitary gland is of normal size
   with no gross pathologic lesions.

   HEAD AND CENTRAL NERVOUS SYSTEM:

   A scalp incision, craniotomy, and removal of the brain are performed in the usual
   fashion. There are no scalp lesions or injuries. The calvarium is intact without
   bony abnormalities or fractures. The dura is intact and unremarkable. On
   stripping of the dura, the base of the skull is intact with no fractures.

   The brain weighs 1523.5 gms and has translucent leptomeninges. The cerebral
   hemispheres have a normal gyral pattern with no edema. The brainstem and
   cerebellar hemispheres are externally unremarkable. The Circle of Willis is
   patent with no atherosclerosis or aneurysms. The cranial nerves are intact.
   Coronal sectioning of the cerebrum shows a symmetric ventricular system
   without hydrocephalus, containing clear cerebrospinal fluid. There are no space
   occupying lesions present. Sagittal sections of the cerebrum and horizontal
   sections of the brainstem are unremarkable. The spinal cord is not examined .

   VII.    HISTOLOGY:

   LUNGS, LIVER AND HEART: No significant histopathologic abnormality

   KIDNEYS: Tubular calcifications

   VIII.   IMAGING STUDIES:

   X-rays of the head and chest are performed and show minute radio-opaque
   fragments in the right and left chest, and a larger fragment in the left chest.

   IX.     IDENTIFICATION:

  The decedent is identified by comparison of antemortem and postmortem
  fingerprints.
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                                                                Malc61m Loren Hickson



                 SPECIMENS AND EVIDENCE COLLECTED                     .


   1.   10 ml of femoral blood, 15 ml of aortic blood, 15 ml of urine, and 5 ml of
        vitreous fluid
   2.   Representative tissue sections in formalin
   3.   Tissue in cassettes for histology (4)
   4.   Forensic evidence:
          a) Pulled scalp hair
          b) Pulled pubic hair
          c) Pulled facial hair
          d) Blood card
          e) Projectile
   5.   Fingerprints and palm prints
   6.   Representative photographs
   7.   GSR SEM stubs from hands
   8.   Digital X-rays (2)
   9.   Additional blood card

   EDC: 12/27/16
   Dictated: 10/27/16
   Transcribed: 1114/16
   Completed: 12/19/16
   BRM:caa
  Case 3:18-cv-02747-B-BH Document 3 Filed 10/17/18                                                                                                           Page 35 of 57 PageID 38



                                                                                       Forensic Toxicology Results

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                             Toxicology Laboratory Service                                                                                             Ch id' Mcclicnl Exnmincr
                             200 Feliks Gwo1.dt. Place                                                                                          Robt.:rt Johnson. PH .D.. DAU FT
                             Fon Wurth, Texas 76104                                                                                                   Chier Toxicologisl
                             Name: Mah.'olm Loren Hicl\SOll
                             Case Numhcr: 1616112                                                                                               Service Request Number: 002
                             Toxicology Work Number: 160379<>


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 Approved By:            _;2AfJL.=__.
 1\ppnm:d Date:          _-·-- -· ··-·- LLldt1-
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                                                    CARROLLTON
                                                               TEXAS

                                                         February 16, 2018


          The Honorable Ken Paxton                                                  VIA CERTIFIED MAIL RETURN
          Attorney General                                                          RECEIPT REQUESTED
          Open Records Division                                                     #7012 1520 0002 5577 8188
          P.O. Box 12548
          Austin TX 78711-2548

          Re:         Request for Attorney General Decision under Tex. Gov't Code Ann § 552.301
                      Requestor: Natalie Hickson
                      Date Received: See Exhibit A
                      City ID: 12102

          Dear Attorney General Paxton:
                       The City of Carrollton, Texas (the "City") received a public information request from
               Natalie Hickson dated Exhibit A. A copy of the request is attached an Exhibit A. Pursuant to §
               552.301 of the Government code, the City requests a decision from the Attorney General about
               whether the requested information is excepted from disclosure under the Public Information Act
               (the "Act"). This letter will serve as the City's brief in its request for a decision from the Attorney ·
               General as to whether the requested information and/or any portions thereof are excepted from
               disclosure under the Public Information Act. (the "Act.") See Tex. Gov't Code § 552.301 (a) and
               (b).

                        Certain Law Enforcement, Corrections and Prosecutorial Information§551.108b

                    The City has located all responsive information attached as Exhibit B. The basic "front
           page" information has been released in accordance with Open Records Decision 127. Information
           held by a law enforcement agency or prosecutor that deals with the detection, investigation, or
           prosecution of crime is excepted from the requirements of Section 552.021 if it is information that
           deals with the detection, investigation, or prosecution of crime only in relation to an investigation
           that did not resultin conviction or deferred adjudication. Tex. Gov't Code §552.108(b). Therefore,
           the City seeks to withhold the marked information in Exhibit B. The offic~r involved shooting
           resulted in a "no bill" and the case is no longer under investigation or pending prosecution and we
           are requesting the records be excepted from disclosure by section 552. l 08(b).             ·


                                                    Confidential Information§ 551.101
             Copies of the responsive materials the City wishes to withhold are attached as Exhibit B.
     The City asserts that the information in Exhibit B should be withheld under the doctrine of
     common law privacy. Section 552.101 excepts from required public disclosure information made
     confidential under case law. Pursuant to the Texas Supreme Court decision in Industrial Foundation
     of the South v. Texas Industriiil Accident Board, section 552.101 applies to information when its
     disclosure would constitute the common law tort of invasion of privacy through the disclosure of
     private facts . To be within this common law tort, the information must (1), contain highly intimate
     or embarrassing facts about a person's private affairs such that its release would be highly
     objectionable to a reasonable person and (2) be of no legitimate concern to the public.


          Office of the City Attorney 1945 E. Jackson Rd. Carrollton, TX 75006 - 972.466.3025.Fax: 972-466-3252
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                                                CARROLLTON
                                                            TEXAS

                The report contains confidential information that is highly intimate and embarrassing as
        well as on no legitimate concern to the general public. See Paxton v City of Dallas, No. 03-13-
        00546-CV, 2015 WL 3394061, at *3 (Tex. App-Austin May 22, 2015, pet. denied). Birth dates of
        certain members of the general public, contained in documents that were sought from the City
        of Dallas under the Texas Public Information Act (the PIA),           are
                                                                           "confidential by law" and thus
        excepted from disclosure under section 552. l 01 of the PIA.

                  In addition, information that is intimate or embarrassing and in which the public has no legitimate
         interest is protected from required public disclosure under Texas common law. See Indus. Found. v. Tex.
         Indus. Accident Bd., 540 S.W.2d 668, 685 (Tex. 1976); Morales v. Ellen, 840 S.W.2d 519 (Tex. App.-EI
         Paso 1992, writ denied). See supra note 9, at 9. Moreover, the PIA protects information deemed
         confidential under the United States Constitution. See Indus. Found. v. Tex. Indus. Accident Bd., 540
         S. W.2d 668, 678 (Tex. 1976). Under Texas law, individuals have "the right to be free from the government
        disclosing private facts about its citizens and from the government inquiring into matters in which it does
        not have a legitimate and proper concern." Ramie v. City of Hedwig Village, Tex., 765 F.2d 490, 492 (5th
        Cir. 1985); see also Fadjo v. Coon, 633 F.2d 1I72, 1176 (5th Cir. 1981 ). Finally, the type of information
        considered intimate or embarrassing by the Texas Supreme Court in Industrial Foundation included
        information relating to sexual assault, pregnancy, mental or physical abuse in the workplace, illegitimate
        children, and psychiatric treatment of mental disorders, attempted suicide, and injuries to sexual organs.
        Id. at 683


             The city takes under consideration that requestor may be the parent to the juvenile listed within the
    report. Nevertheless; no documentation was provided to indicate proof of relations. The mother's name is listed
    within the report as the parent (guardian) therefore; we released only confidential information pertaining to her.
    Nevertheless, we seek to withhold information marked within Exhibit B pursuant to section 552.108 in
    conjunction with 552.101. Should you have any questions or concerns, please contact me by telephone at
    972-466- 3025.

                                                                           Sincerely,
                                                                          ¥-UaBu~
                                                                           Captoria Brown



        Cc:     Natalie Hickson via (Email)
                w/o Exhibit B, pending the AG opinion




          Office of the City Attorney 1945 E. Jackson Rd. Carrollton, TX 75006 - 972.466.3025.Fax: 972-466-3252
      Case 3:18-cv-02747-B-BH Document 3 Filed 10/17/18
                                                              ..                Page 38 of 57 PageID 41
                EXHIBIT
        } A                           CITY OF CARROLLTON. TEXAS
                                                                                                        RPI# _ __

                 12102
                                    REQUEST FOR PUBLIC INFORMATION

 I, the undersigned, hereby request the custodian of the following described public records of the City of
 Carrollton, Texas, to promptly produce said records for inspection and/or duplication. I understand there may be
 charges assessed for duplication or access to such records and the City of Carrollton may require prepayment
 prior to preparation of the requested copies of such record. [Please complete form and submit to City Hall at
 1945 East Jackson Road, Carrollton, Texas 75006, email to · opcnrccords(tilcityofcarrollton.com, or
 complete an open records request online at cityofcarrollton.com/openrecords.]

                                           REQUIRED INFORMATION
 DATE OF REQUEST:         -~-~_,__f8=-·--_......... TELEPHONE: ....-----L/'-ia;...._c.._-_J_2J_~'--·,.~.....;.'-JZ-
                                                                                                               _ __
NAME: (Please t:ircle one Mr., Mrs.                     afa.l.6
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A DD RESS: (Please.include Box and Suite# 's):            \O)~      1:f:t"11      LLluq
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EMAIL:         ~hr J~h D.(--f\t\a (, (I l.D M...
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                                          OPEN RECORDS REQUEST                              \ (-';J....~-cro




                                                  (b)   I re uest Electronic copies on C I via email (circle one)
(c)   . I request only to view at City Hall       (d)   Certifi       'es
(e)J Law Enforcement Report: Basic Information             ull Report ( llorney General request may be required)
(circle one)




(t) _Video Recording of Intoxication Offense Arrest (Per HB 3791, only 'he person stopped/arrested may
                                                                                      )/ft/
request the video recording): Name, Date, Time and/or Location of Arrest: ~-,~~""-----~--


(g) :$..Other (Please explain in detail what you would like to do):        Vt ae () ! t.{ 4,1\ '1) ~°lu£/, '1/-e
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             Case 3:18-cv-02747-B-BH Document 3-- Filed 10/17/18
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                                                                                                  Page 39 of 57 PageID 42


                             REQUEST FOR JUDICIAL <MUNICIPAL COURT> RECORDS
       Per Section 552.003(1)(8) of the Government Code.judicial records are excluded from the Public Information
       Act. Section 552.0035 of the Government Code specifically provides that access to judiciaJ-.re'cords is governed
       by rules adopted by the Supreme Court of Texas or by other applicable laws and rules~Kease provide as much
       infonnation as possible about the court documents you are requesting.

      CASENUMBER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____,,.,£-.----------
      CITATION N U M B E R = - - - - - - - - - - - - - . , , . , £ . . - - - - - - - - - - - -
      DEFENDANT(S) NAME: _ ___:__ _ _ _ _ _-'-_;____ _ _ _ _ _ _ _ _ _ __
      PLEASE LIST ALL DOCUMENTS THAT YOU AR                                          QUESTING (Be specific regarding dates, time
      period, and name(s). (Be sure to request docum



      CHECK ONE:
      (a)_ I request paper:                            (b) _             1 request Electronic copies on CD I via email (circle one)
      (c) _       J request only to view at Municipal Court window
      (d) _       Disposition of Court Case
      Description of information s o u g h t : - - - - - - - - - - - - - - - - - - - - - - - - -


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     Transmittal Date: - - - - - - - - - - - - D u e Date to City Sec.: - - - . L - - - - - - - - -
     DISPOSITION:
     (l) _ _ Documents Attached
     (3) _ _ Documents not attached b e c a u s e : - - - - - - - - - . . . . . . £ . - - - - - - - - - - - -

     List of documents attached: - - - - - - - - - - - - . 4 - - - - - - - - - - - - - - - -


     Number of Copies:                                          Receipt N o . - - - - - - - -
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     Date Mailed/Emailed Notification Letter: ...,c..._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     Date Mailed/Emailed Documents Rea     etter: - - - - - - - - - - - - - - - - - - - - -
     Certified Mail: Yes/No: Return R 1ptNumber: _ _ _ _ _ _ _ _ _ _ _ _ _ ___.__ _ _ __
     Certified Mail Receipt Return      Date:-----~-----------------­
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           Case 3:18-cv-02747-B-BH Document 3 Filed 10/17/18                         Page 40 of 57 PageID 43




                                                   SHAREN WILSON
                                                  Criminal District Attorney
                                                       Tarrant County

           February 22, 2018



                      omey General
           Post     ice Box 12548
           A · tin, Texas 78711-2548                         E- C.M./R.R.R. - 91 7199 9991 7038 6815 2095

                  Re:      Public Information Request from Natalie Hickson

           Dear General Paxton:

                 · On February 20, 2018, the Tarrant County Medical Examiner's Office ("Medical
          Examiner") received a public information request seeking a specified autopsy report. See copy of
          request, attached as Exhibit A. Please note that the.date of receipt is reflected in the "Sent'' row of
          the e-mail header. The Tarrant County Criminal District Attorney's Office, as legal counsel to and
          on behalf of the Medical Examiner, believes that the information sought by the Requestor may be
          withheld under Section 552. l 08 of the TEXAS GOVERNMENT CODE.

                  I.      The requested documents concern a criminal investigation that did not result
                          in a conviction or deferred adjudication, and may therefore be withheld under
                          Section 552.108

                   This Office seeks to withhold the information sought pursuant to Section 552.108(a)(2) &
          (b)(2) of the TEXAS GOVERNMENT CODE. Specifically, Section 552.108(a)(2) states that
          information held by a law enforcement agency or prosecutor that deals with the detection,
          investigation, or prosecution of a crime is excepted from required public disclosure if it is
          information that "deals with the detection, investigation, or prosecution of crime only in relation
          to an investigation that did not result in conviction or deferred adjudication." Similarly, Section
          552. l 08(b)(2) states that an internal record or notation of a law enforcement agency or prosecutor
          is excepted from public disclosure if "the internal record or notation relates to law enforcement
          only in relation to an investigation that did not result in conviction or deferred adjudication."

                 In this case, the requested documents pertain to a criminal investigation which was closed
          with no indictments or convictions. More specifically, the criminal investigation involving the
          requested autopsy report resulted in the return of a "No Bill" by a Dallas County grand jury. See
          Correspondence from the Dallas County District Attorney's Office, attached as Exhibit B. Since
          the requested documents deal with an investigation and prosecution that did not result in a



                   401 West Belknap     Fort Worth, Texas 76196   •   817.884.1400   •   cda.tarrantcounty.com
   Case 3:18-cv-02747-B-BH
    Honorable Ken Paxton      Document 3 Filed 10/17/18               Page 41 of 57 PageID 44
   'Re: Natalie Hickson PIA Request
    February 22, 2017
    Page2


    conviction or deferred adjudication, this Office seeks to withhold them. under Section 552. l 08 of
    the TEXAS GOVERNMENT CODE.

           II.     Conclusion

            The documents sought by the Requestor are attached as Exhibit C. This letter will serve as
    notice to the Requestor that this Office is seeking a ruling regarding this public information
    request. I may be reached at (817) 884-123 3 should any questions arise.


                                                 Sincerely,

                                                 Sharen Wilson
                                                 Criminal District Attorney
                                                 Tarrant County, Texas


                                                '2--
                                                MARK KRATOVIL
                                                              K
                                                Assistant Criminal District Attorney
   MCK/psm

   Attachments

  Exhibit A-     Public Information Act Request
  Exhibit B-     Correspondence from the Dallas County District Attorney's Office
  Exhibit C-     Documents sought to be withheld

  cc w/att. (Ex. A only):

~atalie Hickson (Requestor)                     E- C.M./R.R.R. - 91 7199 9991 7038 6815 2088
  1015 Terry Way
  Carrollton, TX 75006
         Case 3:18-cv-02747-B-BH Document 3 Filed 10/17/18                       Page 42 of 57 PageID 45
 Mark c..Kratovil

 From:                              Tarr J. Wilson
 Sent:                              Tuesday, February 20, 2018 12:29 PM
 To:                                Mark C. Kratovil
 Cc:                                Polly S. Maxwell
 Subject:                           FW: Malcolm Hickson



 Mark,

 See below.

Ms. Tarr Jae Wilson
Manager of Records for TCME Office
200 Feliks Gwozdz Place
Fort Worth, Texas 76104-4919
tjwilson@tarrantcounty.com
Records Dept. tcmerecords@tarrantcounty.com
TCME Case Data/Info-Public Website: https://mepublic.tarrantcounty.com
PH: (817) 920-5700 Ext.8679
FAX: (817) 920-5713
Office Hours: M-F 8 a.m. to 4:30 p.m.

From: Natalie Hickson [mailto:Natalie.Hickson@dallascounty.org]
Sent: Tuesday, February 20, 2018 10:18 AM
To: Records Requests <tcmerecords@tarrantcounty.com>
Cc: Natalie Hickson <Natalie.Hickson@dallascounty.org>
Subject: Malcolm Hickson

To whom it may concern:



I would like all information , pictures, graphs and any other autopsy reports that involve any work that was conducted
on my son Malcolm Hickson (11-23-90} related to his homicide on 10/26/16. I would like that mailed to 1015 terry way
Carrollton TX 75006 or I can pick it up. Please contact me if I need to pick it up I have seen pictures of his body with
a side shot and a graph and a summary report that states my son had a gun in his hand, I would like that as well.

Sincerely,
Natalie Hickson
469-324-8842




                                                                                                            EXHIBIT

                                                            1
                                                                                                     IA
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